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                                   IN THE UNITED STATES BANKRUPTCY COURT
                                         SOUTHERN DISTRICT OF TEXAS
                                              HOUSTON DIVISION

IN RE:                                                                          CHAPTER 13
Christopher Lance Roberts                                                       CASE NO. 16-34006-H5-13
Jordan Gabrielle Greene


                                             NOTICE OF TRUSTEE'S
                                            INTENT TO PAY CLAIMS




 WILLIAM E. HEITKAMP, CHAPTER 13 TRUSTEE,                        HEREBY       GIVES      NOTICE         TO   ALL
 PARTIES IN INTEREST OF THE FOLLOWING MATTERS:

    1.     THE DEADLINE ESTABLISHED BY THE FEDERAL                         RULES OF BANKRUPTCY
           PROCEDURE FOR FILING CLAIMS IN THE ABOVE                        CAPTIONED MATTER HAS
           EXPIRED.

    2.     THE DEADLINE FOR FILING OBJECTIONS                      TO    CLAIMS       ESTABLISHED            BY
           BANKRUPTCY LOCAL RULE 3021(C) HAS EXPIRED.

    3.     THE FOLLOWING SCHEDULE IS A COMPLETE LISTING OF THE CREDITORS
           THAT HAVE EITHER BEEN INCLUDED ON THE SCHEDULES FILED BY THE
           DEBTOR, OR WHO HAVE ACTUALLY FILED CLAIMS IN THE ABOVE CAPTIONED
           CAUSE.

    4.     THE TRUSTEE WILL DISBURSE FUNDS RECEIVED FROM THE DEBTOR ONLY TO
           CREDITORS THAT HAVE FILED CLAIMS.

    5.     THE AMOUNT AND CLASSIFICATION OF A CREDITOR’S CLAIM IS REFLECTED
           ON THE FOLLOWING SCHEDULE.

    6.     THE PROVISIONS OF THE DEBTOR’S CONFIRMED CHAPTER 13 PLAN, AND
           BANKRUPTCY LOCAL RULE 3015, AFFECT THE DISTRIBUTION OF FUNDS BY THE
           TRUSTEE.


NAME AND ADDRESS OF CREDITOR                               AMOUNT       CLASSIFICATION

Alliance One                                                     0.00   UNSECURED CLAIM
4850 Street Rd., Ste. 300                                               NO CHECK
Trevose, PA 19053                                                       LAST 4 DIGITS OF ACCT #: 7556
                                                                        COMM: CAPITAL ONE BANK




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NAME AND ADDRESS OF CREDITOR                          AMOUNT        CLASSIFICATION

AMERICAN EXPRESS CENTURION BANK                          3,580.74   UNSECURED CLAIM
BUCKET & LEE LLP
P O BOX 3001                                                        LAST 4 DIGITS OF ACCT #: 1005
MALVERN, PA 19355                                                   COMM:


AMEX                                                         0.00   UNSECURED CLAIM
CORRESPONDENCE                                                      NO CHECK
P O BOX 981540                                                      LAST 4 DIGITS OF ACCT #: 8003
EL PASO, TX 79998                                                   COMM:


BARCLAYS BANK                                                0.00   UNSECURED CLAIM
P O BOX 8801                                                        NO CHECK
WILMINTON, DE 19899                                                 LAST 4 DIGITS OF ACCT #: 3920
                                                                    COMM:


BARCLAYS BANK                                                0.00   UNSECURED CLAIM
P O BOX 8801                                                        NO CHECK
WILMINTON, DE 19899                                                 LAST 4 DIGITS OF ACCT #: 1613
                                                                    COMM:


CAPITAL ONE BANK USA                                     2,235.93   UNSECURED CLAIM
% AMERICAN INFOSOURCE
P O BOX 71083                                                       LAST 4 DIGITS OF ACCT #: 1338
CHARLOTTE, NC 28272-1083                                            COMM:


CAPITAL ONE BANK USA                                      680.75    UNSECURED CLAIM
% AMERICAN INFOSOURCE
P O BOX 71083                                                       LAST 4 DIGITS OF ACCT #: 0525
CHARLOTTE, NC 28272-1083                                            COMM:


CAPITAL ONE BANK USA                                     1,245.12   UNSECURED CLAIM
% AMERICAN INFOSOURCE
P O BOX 71083                                                       LAST 4 DIGITS OF ACCT #: 2496
CHARLOTTE, NC 28272-1083                                            COMM: CAPITAL ONE BANK USA NA


CAPITAL ONE NA                                            518.30    UNSECURED CLAIM
% BECKET AND LEE LLP
P O BOX 3001                                                        LAST 4 DIGITS OF ACCT #: 2375
MALVERN, PA 19355-0701                                              COMM: KOHLS


CAPITAL ONE                                                  0.00   PARTY REQUESTING NOTICE
P O BOX 30285                                                       NO CHECK
P O BOX 62180                                                       LAST 4 DIGITS OF ACCT #: 2496
SALT LAKE CITY, UT 84130                                            COMM: ALLIANCE ONE




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NAME AND ADDRESS OF CREDITOR                            AMOUNT        CLASSIFICATION

CAVALRY SPV I, LLC                                         1,585.60   UNSECURED CLAIM
P O BOX 27288
TEMPE, AZ 85282                                                       LAST 4 DIGITS OF ACCT #: 5905
                                                                      COMM: SYNCHRONY BANK / ROOMS
                                                                      TO GO

CAVALRY SPV I, LLC                                          715.87    UNSECURED CLAIM
P O BOX 27288
TEMPE, AZ 85282                                                       LAST 4 DIGITS OF ACCT #: 7133
                                                                      COMM: SYNCHRONY BANK / CONN'S


CAVALRY SPV I, LLC                                         1,373.88   UNSECURED CLAIM
P O BOX 27288
TEMPE, AZ 85282                                                       LAST 4 DIGITS OF ACCT #: 6550
                                                                      COMM: SYNCHRONY BANK / SUMMIT
                                                                      RACING

CHASE CARD SERVICES                                            0.00   UNSECURED CLAIM
P O BOX 15298                                                         NO CHECK
WILMINGTON, DE 19850                                                  LAST 4 DIGITS OF ACCT #: 1789
                                                                      COMM:


COMPASS BANK                                               1,674.86   UNSECURED CLAIM
P O BOX 10566
BIRMINGHAM, AL 35296                                                  LAST 4 DIGITS OF ACCT #: 4311
                                                                      COMM:


CREDIT FIRST N.A.****                                       794.34    UNSECURED CLAIM
P O BOX 818011 (BK-13)
CLEVELAND, OH 44181-8011                                              LAST 4 DIGITS OF ACCT #: 6200
                                                                      COMM: BRIDGESTONE FIRESTONE


DEPARTMENT STORE NATIONAL BANK                              387.38    UNSECURED CLAIM
C/O QUANTUM3 GROUP LLC
P O BOX 657                                                           LAST 4 DIGITS OF ACCT #: 3950
KIRKLAND, WA 98083                                                    COMM: MACYS


DITECH FINANCIAL LLC FKA GREEN TREE SERVICING             67,468.02   TO BE PAID OUTSIDE THE PLAN
LLC                                                                   PAID OUTSIDE
P O BOX 0049                                                          LAST 4 DIGITS OF ACCT #: 8524
PALATINE, IL 60055-0049                                               COMM: 5734 MEADOW CREEK LANE


DITECH FINANCIAL LLC FKA GREEN TREE SERVICING              2,847.66   Mortgage Arrears - NEW
LLC
P O BOX 0049                                                          LAST 4 DIGITS OF ACCT #: 8524
PALATINE, IL 60055-0049                                               COMM: ESCROW ARRS




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NAME AND ADDRESS OF CREDITOR                            AMOUNT        CLASSIFICATION

FIRST PREMIER BANK                                             0.00   UNSECURED CLAIM
601 S MINNESOTA AVE                                                   NO CHECK
SIOUX FALLS, SD 57104                                                 LAST 4 DIGITS OF ACCT #: 6320
                                                                      COMM:


FORD MOTOR CREDIT COMPANY***                              24,175.00   MOTOR VEHICLE (POST 10/17/05)
P O BOX 55000
DRAWER 55-953 CHAPTER 13                                              LAST 4 DIGITS OF ACCT #: 2179
DETROIT, MI 48255-0953                                                COMM: 2013 FORD FLEX


FORD MOTOR CREDIT COMPANY***                              27,354.56   UNSECURED CLAIM
P O BOX 55000
DRAWER 55-953 CHAPTER 13                                              LAST 4 DIGITS OF ACCT #: 2179
DETROIT, MI 48255-0953                                                COMM: Split Claim


I C SYSTEM                                                     0.00   UNSECURED CLAIM
444 HIGHWAY 96 EAST                                                   NO CHECK
BOX 64378                                                             LAST 4 DIGITS OF ACCT #: 5001
ST PAUL, MN 55164-0378                                                COMM: SETON DELL CHILDREN S


INTERNAL REVENUE SERVICE***                                    0.00   PARTY REQUESTING NOTICE
P O BOX 7317                                                          NO CHECK
PHILADELPHIA, PA 19101-7317                                           LAST 4 DIGITS OF ACCT #:
                                                                      COMM:


KOHLS/CAPITAL ONE                                              0.00   PARTY REQUESTING NOTICE
P O BOX 3120                                                          NO CHECK
MILWAUKEE, WI 53201                                                   LAST 4 DIGITS OF ACCT #: 2375
                                                                      COMM: MERCHANTS & MEDICAL
                                                                      NORTHLAND GROUP

LENDING CLUB CORP                                              0.00   UNSECURED CLAIM
71 STEVENSON SUITE 300                                                NO CHECK
SAN FRANCISCO, CA 94105                                               LAST 4 DIGITS OF ACCT #: 6483
                                                                      COMM:


LVNV FUNDING LLC ***                                       1,555.21   UNSECURED CLAIM
% RESURGENT CAPITAL SERVICES
P O BOX 10587                                                         LAST 4 DIGITS OF ACCT #: 2238
GREENVILLE, SC 29603-0587                                             COMM: CREDIT ONE


LVNV FUNDING LLC ITS SUCCESSORS & ASSIGNS                      0.00   UNSECURED CLAIM
AS ASSIGNEE OF CITIBANK N.A                                           NO CHECK
RESURGENT CAPITAL SERVICES                                            LAST 4 DIGITS OF ACCT #: 6557
P O BOX 10587                                                         COMM:
GREENVILLE, SC 29603




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NAME AND ADDRESS OF CREDITOR                              AMOUNT        CLASSIFICATION

LVNV FUNDING LLC ITS SUCCESSORS & ASSIGNS                    5,740.00   UNSECURED CLAIM
AS ASSIGNEE OF CITIBANK N.A
RESURGENT CAPITAL SERVICES                                              LAST 4 DIGITS OF ACCT #: 6857
P O BOX 10587                                                           COMM:
GREENVILLE, SC 29603

MCCARTHY BURGESS & WOLFF                                         0.00   PARTY REQUESTING NOTICE
26000 CANNON RD                                                         NO CHECK
CLEVELAND, OH 44146                                                     LAST 4 DIGITS OF ACCT #: 2133
                                                                        COMM: CREDIT FIRST BRIDGESTONE


MERCHANTS & MEDICAL CREDIT CORP                                  0.00   PARTY REQUESTING NOTICE
6324 TAYLOR DRIVE                                                       NO CHECK
FLINT, MI 48507                                                         LAST 4 DIGITS OF ACCT #: 2578
                                                                        COMM: CAPITAL ONE KOHLS


MERRICK BANK                                                  979.47    UNSECURED CLAIM
RESURGENT CAPITAL SERVICES
P O BOX 10368                                                           LAST 4 DIGITS OF ACCT #: 7088
GREENVILLE, SC 29603-0368                                               COMM:


MIDLAND FUNDING LLC                                           688.32    UNSECURED CLAIM
MINDLAND CREDIT MANGEMENT INC AS AGENT FOR
MIDLAND FUNDING LLC                                                     LAST 4 DIGITS OF ACCT #: 4502
P O BOX 2011                                                            COMM: SYNCHRONY BANK
WARREN, MI 48090

MIDLAND FUNDING                                                  0.00   UNSECURED CLAIM
2365 NORTHSIDE DR                                                       NO CHECK
STE 300                                                                 LAST 4 DIGITS OF ACCT #: 1984
SAN DIEDO, CA 92108                                                     COMM: GE MONEY BANK


MILLENNIUM FINANCIAL GROUP                                       0.00   UNSECURED CLAIM
3000 UNITED FOUNDERS BLVD #219                                          NO CHECK
OKLAHOMA CITY, OK 73112                                                 LAST 4 DIGITS OF ACCT #: 5916
                                                                        COMM: HSBC BEST BUY CO BRAND


NAVIENT                                                          0.00   UNSECURED CLAIM
ATTN: CLAIMS DEPT                                                       NO CHECK
P O BOX 9500                                                            LAST 4 DIGITS OF ACCT #: 1005
WILKES-BARR, PA 18773                                                   COMM:


NAVIENT                                                          0.00   UNSECURED CLAIM
ATTN: CLAIMS DEPT                                                       NO CHECK
P O BOX 9500                                                            LAST 4 DIGITS OF ACCT #: 0626
WILKES-BARR, PA 18773                                                   COMM:




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NAME AND ADDRESS OF CREDITOR                             AMOUNT        CLASSIFICATION

PINNICALE CREDIT SERVICES                                       0.00   UNSECURED CLAIM
P O BOX 640                                                            NO CHECK
HOPKINS, MN 55343                                                      LAST 4 DIGITS OF ACCT #: 6321
                                                                       COMM: VERIZON WIRELESS


POA OF LEGEND'S RANCH                                       1,359.75   SECURED CLAIM
% REALMANAGE
P O BOX 803555                                                         LAST 4 DIGITS OF ACCT #: 3175
DALLAS, TX 75380                                                       COMM: 30306 EMERSON CREEK DR


PORTFOLIO RECOVERY ASSOCIATES                                   0.00   UNSECURED CLAIM
120 CORPORATE BLVD                                                     NO CHECK
NORFOLK, VA 23502                                                      LAST 4 DIGITS OF ACCT #: 0203
                                                                       COMM: CAPITAL ONE BANK


PORTFOLIO RECOVERY ASSOCIATES                                   0.00   UNSECURED CLAIM
P O BOX 41067                                                          NO CHECK
NORFOLK, VA 23541                                                      LAST 4 DIGITS OF ACCT #: 3672
                                                                       COMM: CAPITAL ONE BANK USA NA


QUICKEN LOANS INC                                         120,006.20   TO BE PAID OUTSIDE THE PLAN
635 WOODWARD AVE                                                       PAID OUTSIDE
DETROIT, MI 48226                                                      LAST 4 DIGITS OF ACCT #: 5599
                                                                       COMM: HOMESTEAD


QUICKEN LOANS INC                                            600.00    TO BE PAID OUTSIDE THE PLAN
635 WOODWARD AVE                                                       PAID OUTSIDE
DETROIT, MI 48226                                                      LAST 4 DIGITS OF ACCT #: 5599
                                                                       COMM: Ntc of ppf - (doc #55)


QUICKEN LOANS INC                                            624.38    Mortgage Arrears - NEW
635 WOODWARD AVE
DETROIT, MI 48226                                                      LAST 4 DIGITS OF ACCT #: 5599
                                                                       COMM: ESCROW ARRS


RECIO, YVETTE V                                             1,825.00   ATTORNEY FEE
% WOODLANDS BANKRUPTCY PC
26310 OAK RIDGE DR - SUITE 4                                           LAST 4 DIGITS OF ACCT #:
THE WOODLANDS, TX 77380                                                COMM: Original Attorney Fees


RMWBH                                                           0.00   PARTY REQUESTING NOTICE
C/O CLINTON F BROWN                                                    NO CHECK
2800 POST OAK BLVD STE 5777                                            LAST 4 DIGITS OF ACCT #: 0074
HOUSTON, TX 77056                                                      COMM:




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NAME AND ADDRESS OF CREDITOR                              AMOUNT        CLASSIFICATION

SANTANDER CONSUMER USA INC                                  61,826.64   MOTOR VEHICLE (POST 10/17/05)
dba CHRYSLER CAPITAL
P O BOX 961278                                                          LAST 4 DIGITS OF ACCT #: 4109
FORT WORTH, TX 76161                                                    COMM: 2015 DODGE RAM-910 day


SUNRISE CREDIT SERVICES INC                                      0.00   UNSECURED CLAIM
P O BOX 9100                                                            NO CHECK
FARMINGDALE, NY 11735                                                   LAST 4 DIGITS OF ACCT #: 1704
                                                                        COMM: AT&T UVERSE


SYNCHRONY BANK/AMAZON                                            0.00   UNSECURED CLAIM
P O BOX 965064                                                          NO CHECK
ORLANDO, FL 32896                                                       LAST 4 DIGITS OF ACCT #: 5557
                                                                        COMM:


SYNCHRONY BANK/AMAZON                                            0.00   UNSECURED CLAIM
P O BOX 965064                                                          NO CHECK
ORLANDO, FL 32896                                                       LAST 4 DIGITS OF ACCT #: 0786
                                                                        COMM:


SYNCHRONY BANK/GAP                                               0.00   UNSECURED CLAIM
P O BOX 965064                                                          NO CHECK
ORLANDO, FL 32896                                                       LAST 4 DIGITS OF ACCT #: 4378
                                                                        COMM:


SYNCHRONY BANK/LOWES                                             0.00   UNSECURED CLAIM
P O BOX 965064                                                          NO CHECK
ORLANDO, FL 32896                                                       LAST 4 DIGITS OF ACCT #: 1558
                                                                        COMM:


SYNCHRONY BANK/PAYPAL CR                                         0.00   PARTY REQUESTING NOTICE
P O BOX 965064                                                          NO CHECK
ORLANDO, FL 32896                                                       LAST 4 DIGITS OF ACCT #: 4502
                                                                        COMM: EGS FINANCIAL CARE INC


TEXAS CHILDREN'S PEDIATRIC ASS                                   0.00   UNSECURED CLAIM
P O BOX 841969                                                          NO CHECK
DALLAS, TX 75284-1969                                                   LAST 4 DIGITS OF ACCT #: 9545
                                                                        COMM:


TEXAS CHILDRENS URGENT CARE                                      0.00   UNSECURED CLAIM
P O BOX 847116                                                          NO CHECK
DALLAS, TX 75284                                                        LAST 4 DIGITS OF ACCT #: 6857
                                                                        COMM:




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NAME AND ADDRESS OF CREDITOR                           AMOUNT        CLASSIFICATION

TRANSWORLD SYSTEMS                                            0.00   UNSECURED CLAIM
507 PRUDENTIAL RD                                                    NO CHECK
HORSHAM, PA 19044                                                    LAST 4 DIGITS OF ACCT #: 2842
                                                                     COMM: WHITE KNIGHT PEST CONTROL


USA FUNDS - MC E2148                                      7,023.09   UNSECURED CLAIM
P O BOX 6180
Attn: Deposit Operations                                             LAST 4 DIGITS OF ACCT #: 6200
INDIANAPOLIS, IN 46206-6180                                          COMM:


USA FUNDS - MC E2148                                      1,650.88   UNSECURED CLAIM
P O BOX 6180
Attn: Deposit Operations                                             LAST 4 DIGITS OF ACCT #: 6200
INDIANAPOLIS, IN 46206-6180                                          COMM:


USA FUNDS - MC E2148                                      1,236.46   UNSECURED CLAIM
P O BOX 6180
Attn: Deposit Operations                                             LAST 4 DIGITS OF ACCT #: 6200
INDIANAPOLIS, IN 46206-6180                                          COMM:


USAA FEDERAL SAVINGS                                          0.00   UNSECURED CLAIM
P O BOX 47504                                                        NO CHECK
SAN ANTONIO, TX 78265                                                LAST 4 DIGITS OF ACCT #: 6778
                                                                     COMM:


VISA DEPT STORES                                              0.00   PARTY REQUESTING NOTICE
ATTN BANKRUPTCY                                                      NO CHECK
P O BOX 8053                                                         LAST 4 DIGITS OF ACCT #: 3950
MASON, OH 45040                                                      COMM: UNITED COLLECTION BUREAU
                                                                     INC

WELLS FARGO CARD SERVICES                                 1,227.49   UNSECURED CLAIM
P O BOX 9210
DES MOINES, IA 50306                                                 LAST 4 DIGITS OF ACCT #: 4296
                                                                     COMM:


WHITE KNIGHT PEST CONTROL                                     0.00   PARTY REQUESTING NOTICE
1900 FM 967, STE A                                                   NO CHECK
BUDA, TX 78610                                                       LAST 4 DIGITS OF ACCT #: 0418
                                                                     COMM: TRANSWORLD SYSTEMS INC


TOTAL:                                                 $342,980.90




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THE FOREGOING SCHEDULE OF CLAIMS HAS BEEN COMPILED BY THE                               TRUSTEE FROM
THE OFFICIAL CLAIMS REGISTER OF THE BANKRUPTCY COURT. THE                               TRUSTEE WILL
RELY ON THE ABOVE SCHEDULE TO DETERMINE WHAT CLAIMS ARE                                 ALLOWED, AND
THEREFORE ELIGIBLE TO RECEIVE FUNDS IN THIS CASE. IF YOU                                 BELIEVE THE
INFORMATION STATED ON THIS SCHEDULE REGARDING YOUR CLAIM                                IS INCORRECT,
YOU MAY CONTACT THE TRUSTEE FOR CLARIFICATION.


Dated: 3/24/2017


                                                                 RESPECTFULLY SUBMITTED,
                                                                 /s/ William E. Heitkamp
                                                                 William E. Heitkamp
                                                                 Chapter 13 Trustee
                                                                 Admissions ID NO. 3857
                                                                 9821 Katy Freeway Suite 590
                                                                 Houston, TX 77024
                                                                 713-722-1200




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